         Case 2:18-cv-00480-PSG-E Document 27 Filed 10/04/18 Page 1 of 1 Page ID #:172
                                                                                                                             CLEAR FORM
 Name Victor Sherman, Esq. (SBN: 38483)
 Address 11400 West Olympic Bl., Suite 1500
 City, State, Zip Los Angeles, CA 90064
 Phone (424) 371-5930
 Fax (310) 392-9029
 E-Mail victor@victorsherman.law
 G FPD        ✘ Appointed
              G              G CJA        G Pro Per    G Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
Christopher Hobbs,                                                       CASE NUMBER:

                                                                                                 2:18-cv-00480-PSG-E
                                                      PLAINTIFF(S),
                                  v.
Randall Devine, et al.,
                                                                                          NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                          Christopher Hobbs                           hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               ✘ Order (specify):
                                                                         G
 G Conviction and Sentence                                                   Granting Defendant's Motion to Dismiss
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:



Imposed or Filed on          September 19, 2018          . Entered on the docket in this action on September 19, 2018                        .

A copy of said judgment or order is attached hereto.


October 4, 2018                                          /s/Victor Sherman
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
